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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAII

HEIDI PURCELL, M.D., FACOG, et al.,
                                                    )      Case. No. 1:17-cv-00493-JAO-RT
                                                    )
                                                    )      ORDER GRANTING MOTION TO
                   Plaintiff,                       )      APPEAR PRO HAC VICE AS TO
                                                    )      ____________________________
                                                           Johanna Zacarias
                          vs.                       )
                                                    )
XAVIER BECERRA, et al.,
                                                    )
                                                    )
            Defendant.                              )
  ______________________________                    )

                                 ORDER GRANTING MOTION
                                 TO APPEAR PRO HAC VICE

         The Court GRANTS the Motion of ___________________________
                                        Johanna Zacarias            to
  Appear Pro Hac Vice.

   Name of Attorney:        Johanna Zacarias
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   Party Represented        Plaintiffs




         IT IS SO ORDERED.
         DATED: Honolulu, Hawaii, ___________________________________
